                                                 Entered on Docket
                                                 April 18, 2019
                                                 EDWARD J. EMMONS, CLERK
                                                 U.S. BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF CALIFORNIA



 1   Charles P. Maher (SBN 124748)            Signed and Filed: April 18, 2019
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 4   cmaher@rinconlawllp.com                  DENNIS MONTALI
                                              U.S. Bankruptcy Judge

 5   Counsel for
     Andrea A. Wirum,
 6   Chapter 7 Trustee

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 8                              UNITED STATES BANKRUPTCY COURT

 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

10                                      SAN FRANCISCO DIVISION

11   In re                                                 Case No. 18-30581 DM
                                                           (Substantively consolidated with
12       TSAI LUAN HO                                      Case No. 18-30031 DM)
                                                           Chapter 7
         and                                               Hon. Dennis Montali
13
         BIG MAX, LLC,
14
                    Debtors.
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                       ORDER COMPELLING TURNOVER OF DOCUMENTS
18                          AND DISCLOSURE OF INFORMATION

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20           Based on the ex parte application of Andrea A. Wirum, Chapter 7 Trustee, and the supporting
21   declaration of her counsel, service on the Debtor in care of her counsel by Notice of Electronic
22   Filing being adequate and it further appearing that good cause exists, it is
23           ORDERED as follows:
24           1.     The Trustee’s ex parte application for an order under 11 U.S.C. § 521(a)(4) is
25   approved.
26           2.     The Debtor is hereby ordered to turn over to the Trustee within 15 days of entry of
27   this order all documents in her actual or constructive possession relating to potential claims against
28   Mega Bank.

Case: 18-30581     Doc# 98      Filed: 04/18/19     Entered: 04/18/19 18:15:23        Page 1 of 2        1
 1          3.     The Debtor is hereby ordered to disclose within 15 days after entry of this order the

 2   names and addresses of attorneys with whom she has consulted regarding pursuit of claims against

 3   Mega Bank.

 4                                      *** END OF ORDER ***

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Case: 18-30581    Doc# 98     Filed: 04/18/19     Entered: 04/18/19 18:15:23       Page 2 of 2        2
